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                      UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF LOUISIANA


HOWARD G. BROWN                                CASE NO. 3:23-CV-00024
BRANDON A. SIBLEY

VERSUS                                         JUDGE S. MAURICE HICKS, JR.

UNITED STATES MARSHALS                         MAGISTRATE JUDGE CAROL
SERVICE ET AL                                  WHITEHURST


                                      ORDER

      Before the Court is Plaintiff Howard Brown’s Motion to Include Evidence in

which Plaintiff, proceeding pro se, seeks to file two affidavits and a photograph into

the record. (Rec. Doc. 53). Plaintiff seeks to submit random evidence, purportedly

to be used at trial. Submission by motion is an improper means for introducing

evidence. Rather, Plaintiff should submit testimony under oath and subject to cross-

examination and/or properly authenticated exhibits at the time of trial or in response

to pretrial motions. Accordingly,

      IT IS ORDERED that Plaintiff’s Motion to Include Evidence (Rec. Doc. 53)

is DENIED.

      Signed at Lafayette, Louisiana on this 24th day of May, 2023.


                                       ____________________________________
                                       CAROL B. WHITEHURST
                                       UNITED STATES MAGISTRATE JUDGE
